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 9                                      UNITED STATES DISTRICT COURT
10                                    CENTRAL DISTRICT OF CALIFORNIA
11
     AMBER POPE,                                                Case No.:
12
             Plaintiffs,                                        CLASS AND COLLECTIVE ACTION
13                                                              COMPLAINT
     vs.
14                                                              1. FAILURE TO PAY OVERTIME
15   PRIME NOW, LLC; and DOES 1-100,                            2. FAILURE TO PROVIDE MEAL AND
     inclusive,                                                    REST PERIODS
16                                                              3. FAILURE TO FURNISH ACCURATE
             Defendants.                                           ITEMIZED WAGE STATEMENTS
17                                                              4. UNLAWFUL BUSINESS PRACTICES
                                                                5. CIVIL PENALTIES PURSUANT TO
18                                                                 LABOR CODE SECTION 2698, ET SEQ.
19

20           Plaintiff Amber Pope brings this class action against Prime Now, LLC and Does 1 through

21   100, for violations of the Fair Labor Standards Act, the California Labor Code, and the Business and

22   Professions Code.

23                                                        PARTIES

24           1.       Amber Pope (“Plaintiff”) is and at all times relevant herein was employed in Los

25   Angeles County, California, and was an “employee” as defined by the Fair Labor Standards Act

26   (“FLSA”), the California Labor Code (“Labor Code”), and the applicable California Industrial Wage
27   Commission (“IWC”) Order(s).

28   ///



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 1           2.       Prime Now, LLC (“Defendant” or “Prime”) is a limited liability company organized
 2   and existing under the laws of Delaware, with its principal place of business located at 410 Terry
 3   Avenue N, Seattle, Washington, which does business in California and throughout the United States.
 4           3.       At all times relevant herein, Prime has been an “employer” as defined by the Fair Labor
 5   Standards Act (“FLSA”), the California Labor Code (“Labor Code”), and the applicable California
 6   Industrial Wage Commission (“IWC”) Order(s).
 7           4.       Prime and Does 1-100 are collectively referred to as Defendants.
 8           5.       Plaintiff is not aware of the true names and capacities of the Defendants sued herein as
 9   Does 1 through 100, whether individual, corporate, associate, or otherwise and therefore sues such
10   Defendants by these fictitious names. Plaintiff will amend this Complaint to allege their true names
11   and capacities when ascertained. Plaintiff is informed and believes, and on that basis alleges, that
12   each of the fictitiously named Defendants is responsible in some manner for the occurrences herein
13   alleged and that Plaintiff’s injuries and damages herein alleged were legally caused by such
14   Defendants. Unless otherwise indicated, each Defendant was acting within the course and scope of
15   said agency and/or employment, with the knowledge and/or consent of said co-Defendant.
16           6.       Plaintiff is informed and believes and thereupon alleges that at all times mentioned
17   herein, each of the Defendants, including each Doe Defendant, was acting as the agent, servant,
18   employee, partner and/or joint venturer of and was acting in concert with each of the remaining
19   Defendants, including each Doe Defendant, in doing the things herein alleged, while at all times acting
20   within the course and scope of such agency, service, employment partnership, joint venture and/or
21   concert of action. Each Defendant, in doing the acts alleged herein, was acting both individually and
22   within the course and scope of such agency and/or employment, with the knowledge and/or consent of
23   the remaining Defendants.
24                                          JURISDICTION AND VENUE

25           7.       This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331, and 29
26   U.S.C. § 216(b). This court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367. This Court
27   further has jurisdiction pursuant to 28 U.S.C. § 1332(d) as there is diversity of citizenship between
28   Prime and Pope and the amount in controversy exceeds $5,000,000. Venue is proper in this court



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 1   pursuant to 28 U.S.C. § 1391(b) because the unlawful acts alleged herein took place in Los Angeles
 2   County, California and Plaintiff’s place of employment with Prime was within this District. Plaintiff
 3   hereby demands a jury trial.
 4                                            GENERAL ALLEGATIONS
 5           8.       Plaintiff was hired by Prime in or around April 2020.

 6           9.       Throughout her employment, Plaintiff was a non-exempt employee. As such, she was

 7   entitled to be paid at least minimum wage for every hour she worked and overtime as appropriate

 8   based on her “regular rate of pay.”

 9           10.      Throughout her employment, however, Plaintiff and Prime’s other non-exempt

10   employees were not paid for overtime based on the appropriate regular rate.

11           11.      Pope and Prime’s other California non-exempt employees were often eligible for and at

12   times received non-discretionary bonuses, commissions, and other items of compensation (such as

13   “surge premiums” and other shift differentials). Exhibit A.

14           12.      Specifically, Prime paid Pope an additional $2.00 per hour for certain shifts she worked

15   (identified as “Additionalpay” on her wage statements), along with providing “surge premiums” for

16   certain hours that were worked. These promised amounts were essentially shift premiums paid to

17   incentivize Plaintiff and Prime’s other non-exempt employees to work additional hours and/or less

18   desirable shifts.

19           13.      Throughout Pope’s employment, Prime failed to properly calculate and pay the

20   overtime wages owed to Plaintiff and its other non-exempt employees.

21           14.      Specifically, pursuant to its uniform policy, practice and procedure, Prime failed to

22   include commissions, non-discretionary bonuses and other items of compensation when determining

23   Plaintiff and its other non-exempt employees’ “regular rate of pay” for purposes of overtime.

24           15.      For example, during the weekly pay period of May 17-23, 2020, Ms. Pope earned

25   “additional pay of $2.00 for each of the 37.97 hours she worked, earned a “surge premium” of $3.00 for

26   each of 13.50 hours worked, a “surge premium” of $5.00 for 4.50 hours she worked and a rate of
27   $30.00 for 2.83 hours that she worked. Exh. A. Pope had a total of $750.79 in earnings for 37.97 hours

28   of work, equating to a regular rate of $19.77 and an overtime premium of $9.88 per hour. Prime Now,



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 1   however, only paid Pope at the “overtime premium” rate of $5.63 per hour, significantly less than the

 2   premium required by her regular rate. Id.

 3           Pope and Prime’s other non-exempt employees were frequently denied the opportunity to take

 4   off-duty meal periods of at least thirty (30) minutes because job responsibilities would not allow for

 5   such. The fact meal periods were not provided is underscored by Prime’s payment of meal period

 6   premiums to Pope on occasion. Under California law, there is no lawful choice between providing the

 7   opportunity for meal periods and paying meal period premiums. Kirby v. Immoos Fire Protection, Inc.

 8   53 Cal.4th 1244 (2012).

 9           16.      Because of the violations set forth above, and as evidenced in the sample of Plaintiff’s

10   wage statements attached hereto as Exhibit A, the wage statements furnished by Prime to its non-

11   exempt California employees violated California Labor Code section 226(a) insofar as they failed to

12   accurately show:

13                    a.   The gross wages earned, in violation of section 226(a)(1);
                      b.   The total hours worked by the employee in violation of section 226(a)(2);
14                    c.   The net wages earned, in violation of section 226(a)(5); and
                      d.   All applicable hourly rates in effect during the pay period and the corresponding
15
                           number of hours worked at each hourly rate in violation of section 226(a)(9).
16
             17.      Prime was, at all times relevant herein, aware of the requirements of California Labor
17
     Code section 226.
18
             18.      Prime has, at all times relevant herein, furnished wage statements to each of its non-
19
     exempt California employees pursuant to an established set of policies, procedures and practices.
20
             19.      Plaintiff and Prime’s other non-exempt California employees, both current and former,
21
     have suffered injury as a result of Prime’s knowing and intentional failure to comply with California
22
     Labor Code section 226(a).
23
             20.      Plaintiff and Prime’s other non-exempt California employees, both current and former,
24
     were unable to promptly and easily determine their gross wages earned from the wage statements
25
     furnished by Prime.
26
             21.      Plaintiff and Prime’s other non-exempt California employees, both current and former,
27
     have suffered injury as a result of Prime’s knowing and intentional failure to furnish wage statements
28



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 1   accurately showing the gross wages earned by them in violation of California Labor Code section
 2   226(a)(1).
 3           22.      Plaintiff and Prime’s other non-exempt California employees, both current and former,
 4   who worked overtime, were unable to promptly and easily determine their total hours worked from the
 5   wage statements furnished by Prime.
 6           23.      Plaintiff and Prime’s other non-exempt California employees, both current and former,
 7   who worked overtime, have suffered injury as a result of Prime’s knowing and intentional failure to
 8   furnish wage statements accurately showing their total hours worked in violation of California Labor
 9   Code section 226(a)(2).
10           24.      Plaintiff and Prime’s other non-exempt California employees, both current and former,
11   were unable to promptly and easily determine their net wages earned from the wage statements
12   furnished by Prime.
13           25.      Plaintiff and Prime’s other non-exempt California employees, both current and former,
14   have suffered injury as a result of Prime’s knowing and intentional failure to furnish wage statements
15   accurately showing the net wages earned by them in violation of California Labor Code section
16   226(a)(5).
17           26.      Plaintiff and Prime’s other non-exempt California employees, both current and former,
18   were unable to promptly and easily determine all applicable hourly rates in effect during the pay
19   period and the corresponding number of hours worked at each hourly rate from the wage statements
20   furnished by Prime.
21           27.      Plaintiff and Prime’s other non-exempt California employees, both current and former,
22   have suffered injury as a result of Allen Distribution’s knowing and intentional failure to furnish wage
23   statements accurately showing all applicable hourly rates in effect during the pay period and the
24   corresponding number of hours worked at each hourly rate in violation of section 226(a)(9).
25           28.      As a result of the failure to properly calculate and pay overtime and doubletime
26   premiums, Prime failed to pay Pope and its other current and former employees whose employment
27   has ended all wages due and owing at the time of separation within the time parameters mandated by
28   Labor Code sections 201 and 202.



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 1           29.      From at least four years prior to the filing of this action, Prime has adopted and

 2   employed unfair business practices. These unfair business practices include, but are not limited to,

 3   failing to pay employees for all hours worked, failing to pay for all overtime hours worked, failing to

 4   properly calculate and pay all overtime wages and sick pay due, and failing to provide compliant meal

 5   and rest breaks, or to pay the premiums associated therewith, and failure to reimburse for all business

 6   expenses.

 7                                   COLLECTIVE ACTION ALLEGATIONS

 8           30.      Plaintiff seeks to maintain the second cause of action as an “opt-in” collective action

 9   pursuant to 29 U.S.C section 216(b) as to claims for overtime, liquidated damages (or, alternatively,

10   interest) and attorneys’ fees under the FLSA. In addition to Plaintiff, numerous other current and

11   former hourly, non-exempt employees of Defendant were not paid all the overtime they are owed.

12   Plaintiff is a representative of those other current and former employees and are acting on behalf of

13   their interests as well as their own in bringing this action. These similarly situated employees are

14   known to Defendant, are readily identifiable, and may be located through Defendant’s records. These

15   similarly situated employees may be readily notified of this action, and allowed to opt in pursuant to

16   29 U.S.C. § 216(b), for purpose of collectively adjudicating their claims for overtime compensation,

17   liquidated damages (or, alternatively, interest), and attorneys’ fees under the FLSA.

18                                        CLASS ACTION ALLEGATIONS
19           31.      Plaintiff seeks to maintain this action as a class action as to the First through Fourth
20   Causes of Action. Plaintiff brings this action, on behalf of himself and all others similarly situated, as
21   a class action pursuant to Rule 23 of the Federal Rules of Civil Procedure. The putative classes which
22   Plaintiff seeks to represent consist of the following:
23                    a.      All current and former non-exempt employees of Prime who earned
24                            commissions, non-discretionary bonuses, or other items of compensation and
                              worked overtime during one or more pay periods between December 1, 2016
25
                              and the date of trial (the “Regular Rate Class”);
26
                      b.      All current and former non-exempt California employees of Prime who earned
27
                              commissions, non-discretionary bonuses, or other items of compensation and
28



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 1                            worked overtime during one or more pay periods between December 1, 2016
 2                            and the date of trial (the “California Regular Rate Class”);
                      c.      All members of the California Regular Rate Class whose employment with
 3
                              Prime ended at any time between December 1, 2017 and the date of trial (the
 4
                              “California Former Employee SubClass”); and
 5
                      d.      All members of the California Regular Rate Class who received one or more
 6                            wage statements between December 1, 2019 through the date of trial (the
 7                            “California Wage Statement SubClass”).
 8   The Regular Rate Class, California Regular Rate Class, California Former Employee SubClass, and

 9   California Wage Statement SubClass are collectively referred to as the Class.

10           32.      The class of persons is so numerous that joinder of all members is impracticable, and

11   the disposition of their claims in a class action is a benefit to the parties and to the Court. Plaintiff is

12   informed and believes, and based thereon alleges, that Defendant employ well over 5,000 employees

13   who satisfy the class definition. Although the exact number and identity of class members is not

14   presently known, they can be identified in Defendants’ records through coordinated discovery

15   pursuant to this class action.

16           33.      This action may be maintained as a class action pursuant to Rule 23 of the Federal

17   Rules of Civil Procedure because the questions of law and fact which are common to class members

18   clearly predominate over any questions affecting only individual members and because a class action

19   is superior to other available methods for adjudicating the controversy.

20           34.      There are numerous common questions of law and fact arising out of Defendant’s

21   conduct. This class action focuses on Defendant’s systematic: (a) failure to properly calculate and pay

22   overtime/doubletime to their non-exempt employees, (b) failure to pay California employees all wages

23   due and owing at separation; and (c) failure to provide accurate itemized wage statements.

24           35.      Furthermore, common questions of fact and law predominate over any questions

25   affecting only individual members of the class. The predominating common or class-wide questions

26   of law and fact include the following:

27                    a.      Whether Defendant failed to properly calculate and pay its non-exempt

28                            employees’ overtime pay in accordance with the requirements of the FLSA;



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 1                    b.      Whether items of additional remuneration such as “surge premiums” and
 2                            “additionalpay” were non-discretionary and thus needed to be included in
 3                            “regular rate of pay”;
 4                    c.      Whether Defendant failed to properly calculate and pay its non-exempt
 5                            California employees’ overtime pay;
 6                    d.      Whether the wage statements Defendant furnished to their California employees
 7                            comply with Labor Code section 226;
 8                    e.      Whether the miscalculations in overtime pay rates resulted in outstanding wages
 9                            due and owing at separation;
10                    f.      Whether Defendant willfully withheld those wages that were due and owing at
11                            separation;
12                    g.      Whether the alleged violations constitute unfair business practices;
13                    h.      Whether the Class is entitled to injunctive relief; and
14                    i.      Whether the Class is entitled to unpaid wages, statutory penalties and/or
15                            restitutionary relief, and the amount of the same.
16           36.      Plaintiff’s claims are typical of the claims of the members of the Class as a whole, all of
17   whom have sustained and/or will sustain damage and injury as a proximate and/or legal result of the
18   alleged violations of Defendant. Plaintiff’s claims are typical of those of the Class because Defendant
19   subjected Plaintiff and each member of the Class to the same violations alleged herein.
20           37.      The defenses of Defendant, to the extent that such defenses apply, are applicable
21   generally to the whole Class and are not distinguishable as to the proposed class members.
22           38.      Plaintiff will fairly and adequately protect the interests of all members of the Class, and
23   has retained attorneys with extensive experience in litigation, including class and representative
24   actions. Plaintiff has no interests that conflict with those of the Class. Plaintiff is able to fairly and
25   adequately protect the interests of all members of the class because it is in his best interest to prosecute
26   the claims alleged herein in order to obtain the full compensation due themselves and the other class
27   members.
28



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 1           39.      A class action is superior to any other method available for fairly and efficiently
 2   adjudicating the controversy because 1) joinder of individual class members is not practicable, 2)
 3   litigating the claims of individual class members would be unnecessarily costly and burdensome and
 4   would deter individual claims, 3) litigating the claims of individual class members would create a risk
 5   of inconsistent or varying adjudications that would establish incompatible standards of conduct for
 6   Defendants, 4) class members still working for Defendants may be fearful of retaliation if they were to
 7   bring individual claims, 5) class members would be discouraged from pursuing individual claims
 8   because the damages available to them are relatively small, and 6) public policy encourages the use of
 9   the class actions to enforce employment laws and protect individuals who, by virtue of their
10   subordinate position, are particularly vulnerable.
11           40.      Judicial economy will be served by maintenance of this lawsuit as a class action. To
12   process numerous virtually identical individual cases will significantly increase the expense on the
13   Court, the class members, and Defendant, all while unnecessarily delaying the resolution of this
14   matter. There are no obstacles to effective and efficient management of this lawsuit as a class action
15   by this Court and doing so will provide multiple benefits to the litigating parties including, but not
16   limited to, efficiency, economy, and uniform adjudication with consistent results.
17           41.      Notice of a certified class action and any result or resolution of the litigation can be
18   provided to class members by mail, email, publication, or such other methods of notice as deemed
19   appropriate by the Court.
20                                   FIRST CAUSE OF ACTION
                      VIOLATION OF FAIR LABOR STANDARDS ACT AND
21                          CALIFORNIA LABOR CODE §§ 510 & 1198
                                       (Failure to Pay Overtime)
22
      Against Defendant on Behalf of the Regular Rate Class and the California Regular Rate Class
23
             42.      Plaintiff hereby realleges and incorporates by reference each and every allegation set
24
     forth above as though fully set forth herein, except as said paragraphs are inconsistent with the
25
     allegations of this cause of action.
26
             43.      The Fair Labor Standards Act, 29 USC §§ 201 et seq. and 29 CFR §§ 778 et seq.,
27
     requires time-and-a-half pay for the time an employee works over forty hours a week.
28



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 1           44.      Pursuant to California Labor Code section 510, any work in excess of eight hours in
 2   one workday and any work in excess of 40 hours in any one workweek and the first eight hours
 3   worked on the seventh day of work in any one workweek shall be compensated at the rate of no less
 4   than one and one-half times the regular rate of pay for an employee. Any work in excess of 12 hours
 5   in one day shall be compensated at the rate of no less than twice the regular rate of pay for an
 6   employee. In addition, any work in excess of eight hours on any seventh day of a workweek shall be
 7   compensated at the rate of no less than twice the regular rate of pay of an employee.
 8           45.      Pursuant to California Labor Code section 1198, the maximum hours of work and
 9   standard conditions of labor fixed by the commission shall be the maximum hours of work and the
10   standard conditions of labor for employees and the employment of any employee for longer hours than
11   those fixed by the commission or under conditions of labor prohibited by the order is unlawful.
12           46.      During the relevant time period, Plaintiff and Defendant’s other non-exempt employees
13   regularly worked overtime.
14           47.      During the relevant time period, Defendant intentionally and willfully failed to pay all
15   overtime wages due to Plaintiff and its non-exempt employees.
16           48.      Wherefore, Plaintiff and the other members of the Regular Rate Class and California
17   Regular Rate Class have been injured as set forth above and request relief as hereafter provided.
18                                     SECOND CAUSE OF ACTION
                              VIOLATION OF LABOR CODE §§ 201, ET SEQ.
19                    (Failure to Pay All Wages Due and Owing at End of Employment)
                   Against Defendant on Behalf of the California Former Employee SubClass
20

21           49.      Plaintiff hereby realleges and incorporates by reference each and every allegation set

22   forth above as though fully set forth herein, except as said paragraphs are inconsistent with the

23   allegations of this cause of action.

24           50.      California Labor Code section 201 provides that if an employer discharges an employee,

25   the wages earned and unpaid at the time of discharge are due and payable immediately.

26           51.      California Labor Code section 202 requires an employer to pay an employee all earned

27   wages within 72 hours of the employee quitting his or her employment, or immediately at the time of

28   quitting if the employee has given 72 hours previous notice of his or her intention to quit.



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 1           52.      As set forth above, Plaintiff and the other members of the California Regular Rate Class
 2   were not properly paid all overtime wages due throughout their respective employments. As a result,
 3   members of the California Former Employee SubClass necessarily had outstanding wages due and
 4   owing at the time they separated from employment with Prime; those wages remain outstanding.
 5           53.      As a result, members of the California Former Employee SubClass were not timely paid
 6   all of their earned but unpaid wages when their employment with Defendant ended
 7           54.      Wherefore, Plaintiffs and the other members of the California Former Employee
 8   SubClass have been injured as set forth above and request relief as hereafter provided.
 9                                      THIRD CAUSE OF ACTION
                                  VIOLATION OF LABOR CODE § 226(a)
10                         (Failure to Furnish Accurate Itemized Wage Statements)
                     Against Defendants on behalf of the California Wage Statement Class
11

12           55.      Plaintiff hereby realleges and incorporates by reference each and every allegation set

13   forth above as though fully set forth herein, except as said paragraphs are inconsistent with the

14   allegations of this cause of action.

15           56.      Pursuant to California Labor Code section 226(a) “every employer shall, semimonthly

16   or at the time of each payment of wages, furnish each of his or her employees, either as a detachable

17   part of the check, draft, or voucher paying the employee’s wages, or separately when the wages are

18   paid by personal check or cash, an accurate itemized statement in writing showing (1) gross wages

19   earned, (2) total hours worked by the employee [. . .], (3) the number of piece-rate units earned and

20   any applicable piece rate if the employee is paid on a piece-rate basis, (4) all deductions, (5) net wages

21   earned, (6) the inclusive dates of the period for which the employee is paid, (7) the name of the

22   employee and only the last four digits of his or her social security number or an employee

23   identification number, (8) the name and address of the legal entity that is the employer [. . .], (9) all

24   applicable hourly rates in effect during the pay period and corresponding number of hours worked at

25   each hourly rate by the employee and, if the employer is a temporary services employer [. . .], the rate

26   of pay and the total hours worked for each temporary services assignment.”

27           57.      An employee suffering injury as a result of the knowing and intentional failure by an

28   employer to comply with Labor Code section 226(a) is entitled to recover the greater of all actual



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 1   damages or fifty dollars ($50) for the initial pay period in which a violation occurs and one hundred
 2   dollars ($100) per employee for each violation in a subsequent pay period, not to exceed the aggregate
 3   penalty of four thousand dollars ($4,000), and is entitled to an award of costs and reasonable
 4   attorney’s fees. Labor Code § 226(e)(1).
 5           58.      An employee is deemed to suffer injury if the employer fails to provide a wage
 6   statement or if the employer fails to provide accurate and complete information as required by any one
 7   or more of the items (1) to (9), inclusive, of subdivision (a) and the employee cannot promptly and
 8   easily determine from the wage statement alone, i) the amount of gross/net wages paid to the employee
 9   during the pay period or any of the other information required to be provided pursuant to Labor Code
10   section 226(a) items (2) to (4), inclusive, (6) and (9), ii) deductions made by the employer, iii) the
11   name and address of the employer and iv) the name of the employee and the last four digits of his or
12   her social security number or employee identification number. Labor Code § 226(e)(2)(A) and (B)(i)-
13   (iv). “Promptly and easily determine” means a reasonable person would be able to readily ascertain
14   the information without reference to other documents or information. Labor Code § 226(e)(2)(C).
15           59.      As set forth above, Defendant intentionally and willfully failed to furnish accurate
16   itemized wage statements which complied with Labor Code section 226.
17           60.      Wherefore, Plaintiff and the other members of the California Wage Statement Class
18   have been injured as set forth above and request relief as hereafter provided.
19                             FOURTH CAUSE OF ACTION
      VIOLATION OF CALIFORNIA BUSINESS AND PROFESSIONS CODE §§ 17200 ET SEQ.
20                                (Unfair Business Practices)
                Against Defendant on behalf of the California Regular Rate Class
21

22           61.      Plaintiff hereby realleges and incorporates by reference each and every allegation set

23   forth above as though fully set forth herein, except as said paragraphs are inconsistent with the

24   allegations of this cause of action.

25           62.      The statutory violations, as alleged above, are unfair business practices within the

26   meaning of the Unfair Competition Law (Business and Professions Code sections 17200 et seq), and

27   include, but are not limited to failing to properly calculate and pay all overtime wages.

28



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 1           63.      Wherefore, Plaintiff and the other members of the California Regular Rate Class, the
 2   Regular Rate Class have been damaged as set forth above and request relief as hereafter provided.
 3                                    FIFTH CAUSE OF ACTION
                            VIOLATION OF LABOR CODE SECTION 2698 ET SEQ.
 4                                   (Private Attorneys General Act)
                                            Against Defendant
 5

 6           64.      Plaintiff hereby realleges and incorporates by reference each and every allegation set

 7   forth above as though fully set forth herein, except as said paragraphs are inconsistent with the

 8   allegations of this cause of action.

 9           65.      Pursuant to Labor Code section 2699(a), any provision of the Labor Code which

10   provides for a civil penalty to be assessed and collected by the LWDA for violations of the Labor Code

11   may, as an alternative, be recovered through a civil action brought by an aggrieved employee on behalf

12   of himself or herself and other current or former employees pursuant to the procedures outlined in

13   Labor Code section 2699.3.

14           66.      Plaintiff was employed by Defendant and the alleged violations were committed against

15   her during her time of employment. Plaintiff is therefore aggrieved employees as defined by Labor

16   Code section 2699(c). Other current and former employees are also aggrieved employees in that one or

17   more of the alleged violations were also committed against them during their time of employment with

18   Defendant.

19           67.      On June 8, 2020, Pope sent a letter to Prime and the LWDA identifying specific

20   provisions of the Labor Code alleged to have been violated by Prime, along with the facts and theories

21   supporting those alleged violations. See Exhibit B. Specifically, Pope asserted that Prime violated

22   Labor Code sections 201-203, 204, 226, 226.7, 510, and 512.

23           68.      As of the filing of this Complaint, which is more than 65 days following June 8, 2020,

24   the LWDA has not provided any indication of its intention to investigate the Labor Code allegations

25   outlined in Exhibit B. None of the alleged violations have been cured as specified in Labor Code

26   section 2699.3.

27           69.      Pursuant to Labor Code section 2699(f), the civil penalty recoverable in a PAGA action

28   is that which is provided for by the Labor Code or, where no civil penalty is specifically provided, one



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 1   hundred dollars ($100) for each aggrieved employee per pay period for the initial violation and two
 2   hundred dollars ($200) for each aggrieved employee per pay period for each subsequent violation.
 3           70.      Pursuant to California Labor Code section 2699(g), an aggrieved employee may recover
 4   the civil penalty on behalf of himself or herself and other current or former employees against whom
 5   one or more of the alleged violations was committed. Furthermore, any employee who prevails in any
 6   such action shall be entitled to an award of reasonable attorney's fees and costs.
 7           71.      As set forth above, Defendant violated the California Labor Code by, inter alia, failing
 8   to properly pay overtime, failing to provide compliant meal breaks, failing to timely pay wages, and
 9   failing to furnish accurate itemized wage statements.
10           72.      Wherefore, Plaintiff and the other aggrieved employees have been damaged as set forth
11   above and request relief as hereafter provided.
12                                              PRAYER FOR RELIEF
13   WHEREFORE, Plaintiff prays judgment against Defendant as follows:

14   As to the First through Fourth Causes of Action:

15           1.       That this Court certify the Classes and SubClasses identified in paragraph 31;

16           2.       That this Court appoint Plaintiff as the representative of the Class;

17           3.       That this Court appoint Mayall Hurley, P.C. as Class Counsel;

18           4.       That this Court award actual, compensatory, special, and general damages as well as

19                    restitutionary relief to Plaintiff and the members of the Class;

20           5.       That this Court award injunctive relief, including that available under 29 U.S.C. § 217,

21                    Labor Code §§ 226(h) and 248.5(e), and Business and Professions Code § 17203;

22           6.       That this Court award penalties and liquidated damages including, but not limited to,

23                    those available under 29 U.S.C. 216(b) and Labor Code §§ 203, 226, 226.7, 512 and

24                    1194.2;

25           7.       That this Court award statutory attorneys’ fees and costs, including those available

26                    under 29 U.S.C. § 216(b), Labor Code §§ 218.5, 226(e)(1), 226(h), 248.5(e), and 1194,
27                    as well as Code of Civil Procedure § 1021.5;

28



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 1           8.       That this Court award prejudgment and post-judgment interest according to any

 2                    applicable provision of law or as otherwise permitted by law; and

 3   As to the Fifth Cause of Action:

 4           1.       For civil penalties, including but not limited to those available under Labor Code §§

 5                    210, 226.3, 558 and 2699(f);

 6           2.       For statutory attorneys’ fees and costs, including but not limited to those available

 7                    under Labor Code § 2699(g);

 8           3.       For prejudgment and post-judgment interest according to any applicable provision of

 9                    law or as otherwise permitted by law, including those available under Civil Code §§

10                    3287(a) and 3289(b), and Labor Code § 218.6; and

11           4.       For such other and further relief as the court deems just and proper.

12   DATED: December 1, 2020                                     MAYALL HURLEY P.C.

13
                                               By                / s / Robert J. Wasserman
14
                                                                 ROBERT J. WASSERMAN
15                                                               JENNY D. BAYSINGER
                                                                 Attorneys for Plaintiff and the Putative Class
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                    EXHIBIT A
       Case 2:20-cv-10912-ODW-AGR
              CO.  FILE   DEPT.             Document
                                  CLOCK VCHR. NO.    1 Filed 12/01/20 Page 17 of 22 Page ID #:17
              AUL  081145 100500 8003   0000234336 1
                                                                                        Earnings Statement
                                                            4182-0015
                 PRIME NOW LLC                                                          Period Beginning:              05/17/2020
                 ATTN: AMAZON        PAYROLL                                            Period Ending:                 05/23/2020
                 202 WESTLAKE        AVE N                                              Pay Date:                      05/29/2020
                 SEATTLE,       WA 98109


                                                                                            AMBER POPE
                 Filing Status: Single/Married filing separately                            1212 W 124TH ST
                 Exemptions/Allowances:
                     Federal: Standard Withholding Table, Non-resident
                                                                                            LOS ANGELES CA 90044
                              alien

                 Social Security Number:      XXX-XX-6315
                         rate        hours         this period          year to date    Other Benefits and
Regular            15   0000        35   13           526   95             2 460   00                                        this period   total to date
Double Time        30   0000         2   83            84   90               279   60   Personal                                  3 15
Additionalpay       2   0000        37   97            75   94               346   66   Sick                                      5 78
O/T Premium         5   6385         2   83            15   96                78   28   Tot Work Hours                           37 96
Surge Prm@$3        3   0000        13   50            40   50                54   00
Surge Prm@$5        5   0000         4   50            22   50               235   65
                                                                                        BASIS OF PAY: HOURLY
Ca Meal Prem                                                                  30   00
                Gross Pay                            $766 75               3 484   19
                                                                                        LEGAL ADDR 410 TERRY AVE NORTH SEATTLE WA 98109


                Statutory                                                               @ THE SHIFT PAY RATE MAY NOT DISPLAY CONSISTENTLY
                Federal Income Tax                    -76   61               341   12   DUE TO CALCULATION          METHOD AND ROUNDING.
                Social Security Tax                   -47   54               216   02
                Medicare Tax                          -11   12                50   52
                                                                                         Taxable Marital Status:
                CA State Income Tax                   -14   94                44   50     CA:             Single
                CA SUI/SDI Tax                         -7   67                34   84    Exemptions/Allowances:
                                                                                          CA:             0

                401K                                  -96 71*                364 37

                Net Pay                              $512 16
                Checking Dep                         -512 16

                Net Check                              $0 00


                Correction: 2 83 OT Hours for 05/17/20 - 05/23/20


                  Excluded from federal taxable wages
                  Your federal taxable wages this period are $670 04

                                                                                                                                             2000 A DP, LLC




                 PRIME NOW LLC                                                          Advice number:                       00000234336
                 ATTN: AMAZON PAYROLL                                                   Pay date:                            05/29/2020
                 202 WESTLAKE AVE N
                 SEATTLE WA 98109

                 Deposited      to the account of                                       account number             transit     ABA                amount
                 AMBER POPE                                                             xxxxxx4082                 xxxx xxxx                     $512 16




                                                                                                     NON-NEGOTIABLE
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                    EXHIBIT B
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